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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                               Civil Action No. 1:21-cv-02886-FYP
                          Plaintiff,
                    v.

 BERTELSMANN SE & CO. KGaA,
 PENGUIN RANDOM HOUSE, LLC,
 VIACOMCBS, INC., and
 SIMON & SCHUSTER, INC.
                          Defendants.

                       STIPULATION AND [PROPOSED] ORDER
                     REGARDING FORMAT OF POST-TRIAL BRIEFS

       Pursuant to the Court’s August 22, 2022 Minute Order and Local Rule 16.6 of the Local

Rules of the United States District Court for the District of Columbia, it is hereby stipulated and

agreed by and between Plaintiff the United States of America and Defendants Bertelsmann SE &

Co. KGaA, Penguin Random House, LLC, ViacomCBS, Inc., and Simon & Schuster, Inc.,

subject to approval and entry by the Court, that:

       1.      Pursuant to the Court’s July 26, 2022 Minute Order adopting the parties’

proposed post-trial briefing schedule (Dkt. No. 119 at 4, § X.), post-trial findings of fact and

conclusions of law are to be filed no later than August 31, 2022 and post-trial objections to

findings of fact and conclusions of law are to be filed no later than September 7, 2022.

       2.      Each side’s post-trial findings of fact and conclusions of law shall be filed in a

combined Post-Trial Brief not to exceed 175 pages.

       3.      Each side’s post-trial objections to findings of fact and conclusions of law shall be

filed in a combined Oppositions to Post-Trial Brief not to exceed 45 pages.




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        4.     Post-Trial Briefs and Oppositions to Post-Trial Briefs shall be formatted in

accordance with the Court’s Standing Order (Dkt. No. 4) and Local Rule 5.1(d) of the Local

Rules of the United States District Court for the District of Columbia.

        5.     Each side shall submit an electronic version of their Post-Trial Brief on a USB

drive, with hyperlinks to cited exhibits and evidence, via hand delivery to the Court no later than

September 7, 2022.

        6.     Each side shall submit an electronic version of their Opposition to Post-Trial Brief

on a USB drive, with hyperlinks to cited exhibits and evidence, via hand delivery to the Court no

later than September 9, 2022.

        7.     If a side moves to file a Post-Trial Brief or an Opposition to Post-Trial Brief

under seal, a public redacted version of that side’s brief shall be filed no later than September 9,

2022.



Dated: August 25, 2022                                Respectfully submitted,

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                                               Schuster, Inc.




                                        ORDER


IT IS SO ORDERED by the Court, this _____ day of August 2022.




                                               FLORENCE Y. PAN
                                               United States District Judge



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